EXHIBIT 1
                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 AMERICAN BROADCASTING
 COMPANIES, INC., DISNEY
 ENTERPRISES, INC., TWENTIETH
 CENTURY FOX FILM CORPORATION,
 CBS BROADCASTING INC., CBS STUDIOS                 No. 19-cv-7136-LLS
 INC., FOX TELEVISION STATIONS, LLC,
 FOX BROADCASTING COMPANY, LLC,
 NBCUNIVERSAL MEDIA, LLC,
 UNIVERSAL TELEVISION LLC, and OPEN
 4 BUSINESS PRODUCTIONS, LLC,

               Plaintiffs,

        v.

 DAVID R. GOODFRIEND and SPORTS
 FANS COALITION NY, INC.,

               Defendants.


                       [PROPOSED] PERMANENT INJUNCTION


       Pursuant to the December 17, 2019 Agreement between Plaintiffs American Broadcasting

Companies, Inc., Disney Enterprises, Inc., Twentieth Century Fox Film Corporation, CBS

Broadcasting Inc., CBS Studios Inc., Fox Television Stations LLC, Fox Broadcasting Company

LLC, NBCUniversal Media, LLC, Universal Television LLC, and Open 4 Business Productions,

LLC (collectively, “Plaintiffs”) and Defendants David R. Goodfriend and Sports Fans Coalition

NY, Inc. (“SFCNY”) (collectively, “Defendants”) (ECF No. 243-2); the Court’s August 31, 2021

Opinion and Order granting Plaintiffs’ motion for partial summary judgment (ECF No. 322); and

for good cause shown, particularly in the accompanying Motion to Enforce the Parties’ Case

Narrowing Agreement and for Entry of Permanent Injunction, the Court hereby enters the

following Permanent Injunction:
       1.      For the purposes of this Permanent Injunction, the following definitions shall apply:

                a.    The “Litigation” means the entire civil action No. 19-cv-7136 in the

                Southern District of New York.

                b.    The “Locast service” means the service operated by SFCNY that provides

                access to local broadcast signals over the internet to consumers, that is the subject

                of the Litigation.

       2.      Defendants, along with their officers, agents, servants, employees, attorneys, and

other persons who are in active concert or participation with Defendants or their officers, agents,

servants, employees, or attorneys (if they receive actual notice pursuant to Rule 65(d)(2) of the

Federal Rules of Civil Procedure) are PERMANENTLY RESTRAINED AND ENJOINED

from operating Locast.

       3.      Violation of this Permanent Injunction shall be subject to all applicable penalties,

including contempt of Court.

       4.      This Court shall retain continuing jurisdiction over the Parties and the action for

purposes of enforcing this Permanent Injunction.



       SO ORDERED, this ___ day of __________, 2021.



       __________________________________________
            Louis L. Stanton, United States District Judge




                                                 2
